Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 1 of 12 Page ID
                                 #:37759


                             ORR JUVENILE COORDINATOR INTERIM REPORT

                                                June 8, 2020

                            Aurora Miranda-Maese, ORR Juvenile Coordinator


                                               Introduction

 On April 24, 2020, The Honorable Dolly M. Gee of The United States District Court for the Central District
 of California held a third hearing on the Motion for Temporary Restraining Order on Jenny L. Flores, et al.
 v. William P. Barr, et al., directing the undersigned designated as the Office of Refugee Resettlement
 (ORR), Juvenile Coordinator, Aurora Miranda-Maese, to file an Interim Report monthly during the
 pendency of the national health emergency related to the COVID-19 pandemic.

 Subsequent to the Court Order, the undersigned established a workgroup to assist in obtaining the data
 from all congregate care shelters and transitional foster care nationwide, on issues as they pertain to the
 six Court-ordered topics. Under the Juvenile Coordinator, this workgroup developed questionnaires to
 gain further insight from the ORR network on a case-by-case basis where clarity was needed. This
 workgroup continues in the same manner with additional questions for specific information as they
 pertain to the new Court Order dated May 22, 2020.

 At the Court hearing on May 22, 2020, the Court ordered the following for the ORR Juvenile Coordinator:

        The Juvenile Coordinator shall file an updated report by June 8, 2020, covering the topics listed in
         the April 24, 2020 Order.

        In her report, the ORR Juvenile Coordinator shall also provide an update on each minor whose
         sponsor’s fingerprinting or home study is delayed and a specific explanation for each delay.

 The Court ordered a video status conference on June 19, 2020 to discuss compliance with the Court’s
 Orders.

 During this reporting period, which began on May 22, 2020 – June 1, 2020 approximately 1,159 cases were
 reviewed individually. The census of minors in ORR custody has continued to decrease, with
 approximately 679 minors residing in congregate care facilities as of June 1, 2020. The workgroup
 continued to collaborate with ORR grantee staff, Federal Field Specialists (FFS), and other ORR staff
 members to obtain the information needed from ORR network. Figure 1 below provides minors’ census
 information and discharges since the onset of when the Juvenile Coordinator began tracking this
 information. Also listed below is Figure 2, which details ORR’s total bed capacity by residence type as of
 June 7, 2020.




                                                      1
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 2 of 12 Page ID
                                 #:37760
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 3 of 12 Page ID
                                 #:37761


     Although not Court ordered, the Special Master requested the Juvenile Coordinator provide a brief
     summary to describe ORR’s Long Term Foster Care (LTFC). As noted above, ORR has 634 LTFC beds, with
     432 occupied as of June 7, 2020. ORR LTFC is for minors who have been in ORR care for a prolonged
     period of four months or more without eligible sponsors and with pending applications for legal
     protection in the U.S. A minor is transferred from shelter or transitional foster care (TFC) to LTFC if they
     do not have an eligible sponsor and/or also if they have a possible legal case to get SIJS, U-Visa, T-Visa,
     Asylum, etc. to then enter into an unaccompanied refugee minor (URM) program. With regard to
     COVID-19, ORR has released the same precautions to LTFC as with the general UAC program. Each
     program must adhere to the Center for Disease Control (CDC), their state government as well as state
     child welfare guidelines concerning COVID-19 precautions.



     This report provides updates to the six topics ordered to be covered by the Juvenile Coordinator, which
     follows below:

I.       Measures taken to expedite the release of Class Members to suitable custodians during
         the COVID-19 health emergency, including the status of fingerprinting and home study
         policies and practices, in compliance with this Order, and provide census data as to any
         minors who remain in custody due to lack of fingerprinting or home studies.

     Fingerprinting Policies and Practices
     This workgroup reviewed the entire census where fingerprinting was unavailable. As of May 21, 2020
     there was only one fingerprinting site that remained closed (SWK San Diego). The workgroup actively
     audited each case individually to determine if the lack of fingerprinting services within a reasonable
     distance from the person’s location was the sole reason for a delay in a minor’s release, and if provisional
     release was appropriate under the Order.

     During this audit, the workgroup reviewed the status of fingerprinting requirements for sponsors, their
     household members if necessary and additional adults designated by the sponsor as an alternate care
     giver. In most cases, the persons successfully scheduled an appointment or completed the fingerprinting
     as most fingerprinting locations are fully or partially operational.

     Fingerprinting services are among the initial criteria commenced in the family reunification process. In
     cases where fingerprinting is not immediately available, case managers continue to search for alternative
     locations within a reasonable distance and continue to communicate with the persons regarding their
     options. Where no reasonable alternative fingerprinting options are available and fingerprinting is the
     only requirement delaying release, ORR determines whether provisional release is appropriate.

     Status of Fingerprinting Delays Where Minors Remain in ORR Custody
     The following are details for specific cases where release of the minors from ORR custody was delayed
     because of the suspension of fingerprinting services due to COVID-19 related closures. As of June 1, 2020,
     there was only one minor in ORR care whose release was delayed under this category. The details of the
     case is discussed below.

                                                          3
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 4 of 12 Page ID
                                 #:37762
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 5 of 12 Page ID
                                 #:37763
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 6 of 12 Page ID
                                 #:37764


 Although ORR cannot require that staff disclose their private medical information as it relates to COVID-
 19, some staff voluntarily report this information. ORR was notified of 162 staff with positive COVID-19
 test results as of June 1, 2020. Staff with suspected exposure to or positive COVID-19 test results are
 required to quarantine for at least 14 days. They are also not allowed to have any contact with minors or
 other staff at the shelters until their quarantine has ended.


 Status of Minors Infected
                                                               , IL)

        Minors Infected: There were 11 minors who tested positive for COVID-19, and all minors were
         cleared from quarantine. This is not currently delaying their release.


                        , PA)

        Minors Infected: There was one minor who previously tested positive for COVID-19, and this
         minor was cleared from quarantine. This is not currently delaying the minor’s release.


                                   , NY)

        Minors Infected: There was one minor who tested positive for COVID-19, and this minor was
         cleared from quarantine. This is not currently delaying the minor’s release.


                                              , NY)

        Minors Infected: There was one minor who tested positive for COVID-19, and this minor was
         cleared from quarantine. This is not currently delaying the minor’s release.


                                           , NY)

        Minors Infected: There were two minors who tested positive for COVID-19, and both minors were
         cleared from quarantine. This is not currently delaying their release.


                         , NY)

        Minors Infected: There was one minor who tested positive for COVID-19, and this minor was
         cleared from quarantine. This is not currently delaying the minor’s release.




                                                      6
 Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 7 of 12 Page ID
                                  #:37765


III.       With respect to minors placed at congregate facilities in which either a minor or staff
           member has tested positive for COVID-19, identify the specific reason the minors
           located there have not been released or transferred to a non-congregate setting.

       For all the ORR network, transfers out of congregate care were not pursued due to the risk of potentially
       spreading or catching COVID-19 during the transfer process. The current low occupancy at all congregate
       shelters (540 occupied beds out of 10,707 congregate beds) allows for social distancing and provides a
       pool of staff available to care for the minors. ORR issued field guidance dated April 6, 2020 with regard
       to COVID-19 discharge guidance (attached in previous Juvenile Coordinator Report). ORR’s policies
       require the release of minors to sponsors in a manner that promotes public safety, which includes
       concerns related to public health. The field guidance and ORR Policy Guide Section 3.4.8 Medical
       Clearance Prior to Release and Transfer, states:

        “Unaccompanied alien children who have serious physical or mental health issues or have had exposure
       to a communicable disease may not be transferred or moved until they have been medically cleared by a
       physician or ORR is consulted….

       Children who are infectious with communicable diseases of public health concern, which have potential to
       cause outbreaks, will not be released from ORR care until they are non-infectious.”




IV.        Describe any policies and/or practices aimed at identifying and protecting minors who
           are at heightened risk of serious illness or death should they contract COVID-19.

       Each facility has a unique process for staffing medical care for the individualized needs of the minors in
       care. Some directly hire licensed independent practitioners (e.g., pediatricians, family medicine
       physicians, pediatric nurse practitioners, registered nurses) who operate in clinics physically located at
       the facility, and some contract with community healthcare providers who either visit the facility or
       evaluate the minors in their clinics. Each care provider has an established network of healthcare
       providers, including specialists, emergency care services, mental health practitioners, and dental
       providers. Care providers are required to maintain state licensing and adhere to licensing requirements,
       including staffing requirements.

       Each child in ORR care has an initial intake assessment within 24 hours of the minor’s admission to a care
       provider facility, to obtain information about the minor, including whether there are any immediate
       medical and mental health concerns. Minors who are ill on arrival will receive prompt attention and
       medical care.

       Each minor also receives an initial medical examination (IME) by a licensed primary care provider (e.g.,
       physician, physician assistant, or nurse practitioner) within two business days of arrival. The IME is based
       on a well-child examination, adapted for the unaccompanied children population with consideration of
       screening recommendations from the American Academy of Pediatrics, the Centers for Disease Control
       and Prevention (CDC), and the U.S. Preventive Services Task Force (USPSTF).

                                                            7
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 8 of 12 Page ID
                                 #:37766


     The purposes of the IME are to assess general health, administer vaccinations in keeping with U.S.
     standards, identify health conditions that require further attention, and detect contagious diseases, such
     as influenza or tuberculosis. If a vaccination record is not located or a minor is not up-to-date, the minor
     receives all vaccinations recommended by the Advisory Committee on Immunization Practices (ACIP)
     catch-up schedule and approved by CDC, including seasonal influenza vaccine.

     There were no minors who tested positive for COVID-19 at any shelter who were at heightened risk of
     serious illness or death. Division of Health for Unaccompanied Children (DHUC) and ORR care providers
     routinely track and discuss children with existing medical conditions, including children with conditions
     that put them at increased risk of infection or could result in possible medical complications if infected.
     As part of these discussions, facilities caring for children with complex medical needs have been directed
     to do the following:

            Maintain close contact with general and specialty medical providers of children with complex
             medical needs, and identify plans for continued care (e.g. utilization of telehealth services) in the
             event of office closures and other barriers to care during the pandemic.

            Create a safety plan for when a child might require in-person medical evaluation, such as in an
             outpatient clinic or at an emergency room.

            Ensure children have an adequate and ongoing supply of prescription medications.

            Continue to follow recommendations about infection prevention, including for respiratory
             diseases such as influenza and COVID-19, from medical providers overseeing the care of children
             with complex health needs.


V.       Explain whether the medical professionals at ORR are making expeditious individual
         assessments about a Class Member’s eligibility for release when a Class Member has
         been exposed to COVID-19 or has a sponsor whose household has a confirmed case
         of COVID-19, and provide the average time in which such individual assessments take
         place during the reporting period.

     Figure 6 below provides information on minors quarantined due to possible exposure to COVID-19, and
     the number of days they have been quarantined. Additionally, quarantine recommendations for minors
     who have been exposed to a confirmed COVID-19 case are made in collaboration with the local public
     health authority. Currently, there no children in medical isolation and there have been no hospitalizations
     of minors due to COVID-19.




                                                          8
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 9 of 12 Page ID
                                 #:37767
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 10 of 12 Page ID
                                 #:37768


VI.       Explain whether ORR is making individualized assessments regarding its ability to
          release minors subject to removal orders under the MPP, including census data and
          reasons for non-release.

      From May 15, 2020 to June 1, 2020, ORR discharged a total of 17 minors with MPP cases. As of June 1,
      2020, there remained 36 MPP minors in ORR custody who are still going through the reunification process.




                                                      Summary

      The undersigned respectfully submits this report to the Court pursuant to the Court Orders dated April
      24, 2020 and May 22, 2020. The undersigned will continue to work independently and with the Special
      Master, and file interim written reports per the Court’s directive to monitor facilities to assure adherence
      to CDC-compliant and ORR guidelines are maintained.




                                                          10
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 11 of 12 Page ID
                                 #:37769
                                                                                            ATTACHMENT A




                    Home Study /Post-Release Services COVID-19 Practice Guidance

 Many states have imposed restrictions on movement or shelter-in-place orders for residents due to the
 COVID-19 pandemic. In response, some state child welfare agencies have issued new guidance on home
 studies and post-placement visits in the domestic context. It is the Office of Refugee Resettlement’s
 (ORR) responsibility to make sure unaccompanied alien children (UAC) are released to a safe and healthy
 environment with a sponsor who can meet their needs. It is also important that home study and post-
 release services (PRS) staff feel safe and supported at this time. Therefore, ORR is providing the
 following guidance:

 Home Studies

 ORR home study providers are to follow their respective state’s official guidance on conducting
 domestic home studies, until further notice from ORR. For example, if a state has ordered that foster
 care social workers must conduct the home visit portion of the home study virtually through the use of
 videoconferencing technology, then ORR Home Study (HS) providers in that state will follow the same
 official guidelines.

 If no official state guidance has been issued on conducting home studies during the COVID-19 pandemic
 or if states require that the home visit portion of the home study be conducted in-person, ORR HS
 providers can seek a waiver on in-person home visits for home studies through their designated Federal
 Field Specialist (FFS). The FFS will decide, on a case-by-case basis, if a virtual home study may be
 conducted in lieu of an in-person one.

 The FFS will weigh the reason for the home study (e.g., the child has been a victim of sexual abuse
 versus the child has a disability as defined by the Americans with Disabilities Act) with the potential
 health risks of conducting an in-person visit. The FFS may decide that an in-person home study is
 required, depending on the circumstances of the child and potential sponsor (e.g., to corroborate
 information gathered during the sponsor assessment process). The FFS must make a determination on
 the format of the home visit within one business day.

 Home study reports must still be submitted within 10 business days of the receipt of the home study
 referral and should document the format in which the home study was conducted.

 Post Release Services (PRS)

 ORR post-release providers may offer PRS virtually during the COVID-19 pandemic until further guidance
 from ORR. This includes conducting assessments, assessing for safety, and referring and connecting
 children to services in the community. Providers should continue to check in on the released child and
 sponsor individually at every contact, as possible, following best practices.

 COVID-19 presents a unique set of economic and health-related issues for sponsor families, many of
 whom may not be eligible for any government assistance due to their legal status. PRS providers may
 request extensions for 30 days at a time from their ORR PRS Project Officers for continuation of services,
Case 2:85-cv-04544-DMG-AGR Document 808-1 Filed 06/08/20 Page 12 of 12 Page ID
                                 #:37770

 based on the circumstances and needs of each sponsor family. ORR PRS Project Officers must make a
 determination for these requests within three business days. The determination is based on the
 released child and sponsor’s access to services that meet their needs, including, but not limited to,
 medical care, food security, education, and other special circumstances.
